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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRlCT OF VIRGINIA
Alexandria Division
lntersections lnc. and Net Enforcers, Inc.,
Plaintiffs,
v. Civil Action No. l:OQCV597 (Ll\/IB/TCB)

Joseph C. Loomis and Jenni M. Loomis,

Defendants.

 

 

MOTION REQUESTING CONTINUANCE OF HEARING ON PLAINTIFFS’ MOTION
TO DISQUALIFY EMIL W. HERICH AND KEATS, McFARLAND & WILS()N, LLP
AND CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7(E)

COMES NOW Defendant Joseph C. Loomis (“Loomis” or “Defendant”), by counsel, and
moves this Honorable Court to continue the August 27, 2010, hearing on Plaintiffs’ l\/lotion to
Disqualify Emil W. Herich and Keats, McFarland & Wilson, LLP. Defendant’s reasons are set
forth in his contemporaneously filed Memorandum in Support of His l\/lotion Requesting
Continuance of Hearing on Plaintiffs’ l\/[otion to Disqualify Emil W. Herich and Keats,
l\/lcFarland & Wilson, LLP.

WHEREFORE, for the foregoing reasons, Defendant Joseph C. Loomis respectfully
requests that this Court continue the August 27, 2010, hearing on Plaintiffs’ Motion to Disqualify
Emil W. Herich and Keats, McFarland & Wilson, LLP to a date certain and grant such other
relief as deemed just and proper, including but not limited to the recovery of l\/lr. Loomis’ fees

and costs associated With this motion to continue

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CERTIFICATION OF COMPLIANCE TO LOCAL RULE 7(E)
On August 25 , 2010, counsel for Defendant (Tirnothy J. McEvoy) separately called
Plaintiffs’ counsel Michelle Dickinson and David Clarl<, Jr. and emailed Ms. Dicl<inson, Ryan
Berry and Melissa Roth at approximately lO:27 a.m. Mr. McEvoy and Ms. Dickinson later

spoke and Were not able to resolve their differences

Respectfully submitted,

/s/

Timothy J. McEvoy, VSB No. 33277
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Joseph C. Loomis

 

Emil W. Herich, pro hac vice

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Attomeyfor Deferzdarzf

Joseph C. Loomis

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CERTIFICATE OF SERVICE

l hereby certify that on this 25th day of August, 2010, l have filed a true and correct copy of
the foregoing With the Clerk of Court via the Cl\/l/ECF efiling system Which Will send notification of
this filing to the following counsel of record:

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/s/

 

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